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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ISAAC A., by and through next
friend, A.A.; ZACK B., by and
through next friend, B.B.; LEON C.,
by and through next friend, C.C.;
SAMUEL D., by and through next            CIVIL NO. 1:24-cv-00037-AT
friend, D.D., on behalf of themselves
and those similarly situated; and THE
GEORGIA ADVOCACY OFFICE,

       Plaintiffs,

v.

RUSSEL CARLSON, in his official
capacity as Commissioner of the
Georgia Department of Community
Health; KEVIN TANNER, in his
official capacity as Commissioner of
the Georgia Department of Behavioral
Health and Developmental
Disabilities; CANDICE L. BROCE,
in her official capacity as
Commissioner of the Georgia
Department of Human Services,

       Defendants.



     STATEMENT OF INTEREST OF THE UNITED STATES OF AMERICA
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      The United States of America respectfully submits this Statement of Interest

under 28 U.S.C. § 5171 to provide its views regarding the interpretation and

application of Title XIX of the Social Security Act (Medicaid Act), 42 U.S.C.

§ 1396 et seq.; Section 504 of the Rehabilitation Act, 29 U.S.C. § 794; and Title II

of the Americans with Disabilities Act (ADA), 42 U.S.C. § 12132; to this proposed

class action alleging that Georgia officials have failed to provide children with

mental health disabilities sufficient community-based services to avoid

unnecessary institutionalization. Specifically, the United States argues that (1)

Plaintiffs have stated a claim for a violation of the “integration mandate” of Title II

and Section 504 because they have adequately alleged that they are in—or at

serious risk of entering—institutions and are appropriate for community-based

services, do not oppose such services, and such services can be reasonably

accommodated; (2) there is a private right of action under 42 U.S.C. § 1983 for

Medicaid beneficiaries to sue for violations of the Medicaid rights at issue here;

and (3) Plaintiffs have adequately alleged violations of these Medicaid rights.

                           FACTUAL BACKGROUND

      The four named Plaintiff children (Isaac A., Zack B., Leon C., and Samuel

D.) are eligible for Medicaid, have serious behavioral health disabilities, and



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       The Attorney General is authorized “to attend to the interests of the
United States” in any case pending in federal court. 28 U.S.C. § 517.
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require intensive community-based services to treat their conditions and support

their functioning. Pl.’s Compl. ¶ 22-64, ECF No. 1 (Compl.). They seek to

represent a putative class of similarly situated children. Compl. ¶ 65. The Georgia

Advocacy Office also brings this case as an associational plaintiff on behalf of the

same group of children, who are its constituents. Compl. ¶¶ 66-70. Defendants,

Russel Carlson, Kevin Tanner, and Candice Broce, are State commissioners who

have responsibility for administering aspects of Georgia’s mental health system for

children.

      Plaintiffs sued Defendants in their official capacities, seeking declaratory

and injunctive relief. Plaintiffs claim that Defendants (1) fail to meet their

obligations under the Medicaid Act’s Early and Periodic Screening, Diagnosis and

Treatment (EPSDT) provisions, 42 U.S.C. §§ 1396a(a)(10)(A), 1396a(a)(43),

1396d(a)(4) & 1396d(r), and “reasonable promptness” requirement, 42 U.S.C.

§ 1396a(a)(8); and (2) discriminate against Plaintiffs on the basis of disability in

violation of Section 504 and Title II. Defendants have moved to dismiss the

complaint pursuant to Fed. R. Civ. P. 12(b)(1) and (6). Defs.’ Mem. in Support of

the Mot. to Dismiss, ECF No. 32-1 (Defs.’ Mem.).2




      2
       Defendants’ motion to dismiss also argues that the named Plaintiffs and the
Georgia Advocacy Office lack standing, that the complaint is a “shotgun
pleading,” that the claims are barred by sovereign immunity, and that the requested
                                              3
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                     INTEREST OF THE UNITED STATES

      The United States submits this Statement of Interest because this litigation

implicates the proper interpretation and application of the integration mandate of

Title II of the ADA, 42 U.S.C. § 12132; 28 C.F.R. § 35.130(d), and Section 504 of

the Rehabilitation Act, 29 U.S.C. § 794; 28 C.F.R. § 41.51(d).3 The Department of

Justice (DOJ) is charged with issuing regulations implementing Title II and also

enforces the statute. 42 U.S.C. §§ 12133–12134; 28 C.F.R. § 35.190. DOJ

therefore has an interest in supporting the proper interpretation and application of

Title II, and in furthering Congress’s intent to create “clear, strong, consistent,

enforceable standards” addressing discrimination. 42 U.S.C. § 12101(b)(2).

      In passing the ADA, Congress found that “society has tended to isolate and

segregate individuals with disabilities” and that such individuals “continually

encounter various forms of discrimination, including . . . segregation” and

experience discrimination in “institutionalization.” Id. §§ 12101(a)(2), (3), (5). To

address this history of segregation and isolation, the regulation implementing Title



relief will violate the Tenth Amendment. The United States does not address those
arguments in this Statement of Interest.
      3
         “Given the textual similarities between [Title II and Section 504], the same
standards govern claims under both, and [courts] rely on cases construing Title II
and § 504 interchangeably. . . . In other words, whatever [courts] have said . . .
about Title II goes for § 504, and vice versa.” Silberman v. Miami Dade Transit,
927 F.3d 1123, 1133-34 (11th Cir. 2019). For this reason, this Statement primarily
refers to Title II, but its arguments apply equally to Section 504.
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II requires public entities to “administer services, programs, and activities” to

people with disabilities “in the most integrated setting appropriate to the[ir] needs.”

28 C.F.R. § 35.130(d). The “most integrated setting” is one that “enables

individuals with disabilities to interact with nondisabled persons to the fullest

extent possible.” 28 C.F.R. pt. 35, app. B at 711. Public entities must reasonably

modify their policies and practices to avoid discriminating on the basis of

disability, unless such modifications would fundamentally alter the nature of a

service, program, or activity. Id. § 35.130(b)(7)(i).

      The United States also has a strong interest in States’ compliance with the

requirements of the Medicaid Act, which established a cooperative federal-state

program to provide medical care to eligible individuals. The Department of Health

and Human Services oversees States’ compliance with Medicaid requirements. 42

C.F.R. § 430.15(b). The Medicaid Act provides States with essential tools they

can use to comply with Title II’s integration mandate.

      The Medicaid Act’s EPSDT provisions lay out a mandatory and

comprehensive program under which States must screen and treat eligible children

for their physical and mental illnesses and conditions, 42 U.S.C. § 1396d(r)(5), see

also id. §§ 1396a(a)(43); 1396d(a)(4)(B), and deliver those services in a reasonably

prompt manner. Id. § 1396a(a)(8). When a State fails to provide adequate and

reasonably prompt EPSDT services to children with disabilities, this failure can

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lead to significant harms, including exacerbation of children’s impairments,

deterioration to the point of crisis, and unnecessary institutionalization in violation

of the ADA. For these reasons, the United States has a strong interest in the

resolution of this matter.

                                    DISCUSSION
   I.      Plaintiffs have adequately pled a violation of the integration mandate
           of Title II and Section 504.

        Despite Defendants’ arguments to the contrary, Defs.’ Mem. 43, 45-47, the

complaint contains sufficient allegations of a violation of the integration mandate,

which requires placement of individuals with disabilities in community settings

rather than institutions when they are appropriate for community-based services,

do not oppose such services, and when the placement can be reasonably

accommodated. Olmstead v. L.C., 527 U.S. 581, 587 (1999).

        Defendants argue that Plaintiffs Isaac A. and Zack B. have not sufficiently

alleged they are appropriate for community-based services, Plaintiff Leon C.

opposes such services, and that Plaintiff Samuel D. cannot allege a violation of the

integration mandate when he is not currently institutionalized. Defendants further

contend that the modifications Plaintiffs seek are not reasonable and would amount

to a fundamental alteration. Each of these arguments fails, and this Court should




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deny the motion to dismiss these claims.4

      A. Plaintiffs have sufficiently alleged that they are appropriate for
         community-based services and do not oppose such services.

      Each of the Plaintiffs has alleged that he is appropriate for community-based

services and does not oppose receiving such services. See 527 U.S. at 587.

      Plaintiffs Isaac A. and Zack B., who are currently institutionalized, allege

that they “currently need” the Remedial Services and could be living in their own

homes if such services were provided.5 Compl. ¶¶ 29, 33, 41, 44. For example,

Isaac A. alleges that he has experienced a pattern of institutionalization and after

each stay, he is discharged with services other than the ones he needs, or none at

all, causing him to reenter institutional settings. Compl. ¶ 27-29, 31-33. Zack B.

alleges that he too has received insufficient services, and when he did receive a

service that helped him avoid institutions, it was discontinued, causing repeated

institutionalization. Compl. ¶¶ 38-41, 43-44.


      4
         Plaintiffs additionally claim that the Defendants’ “methods of
administering” Georgia’s children’s mental health service system “have the effect
of subjecting” children with mental health disabilities to discrimination on the
basis of disability. 28 C.F.R. § 35.130 (b)(3). Specifically, Plaintiffs contend that
Defendants fail to ensure such children can access needed services, employ
arbitrary exclusions on services, and fail to make reasonable modifications to avoid
violating the integration mandate. Compl. ¶ 196. Plaintiffs have sufficiently pled
a violation of the relevant Medicaid provisions and the ADA’s integration
mandate, and this Statement does not address the additional claim.
      5
     Defendants do not dispute that Leon C. and Samuel D., are appropriate for
community-based services. Defs.’ Mem. 46.
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      In determining whether a complaint states a claim, a court must “accept the

factual allegations in the complaint as true and construe them in the light most

favorable to the plaintiff.” Echols v. Lawton, 913 F.3d 1313, 1319 (11th Cir.

2019). Allegations like this are sufficient to plead appropriateness. See Georgia

Advoc. Off. v. Georgia, 447 F. Supp. 3d 1311, 1323 (N.D. Ga. 2020) (explaining

that a description of why the plaintiffs are appropriate for the community is

sufficient to survive a motion to dismiss, as “some determination from a

professional” is not needed at this stage); see also M.J. v. District of Columbia, 401

F. Supp. 3d 1, 13 (D.D.C. 2019) (“At this stage of the litigation, plaintiffs have

alleged that they are able to live in their homes and communities, if the [State]

provided the required treatment; these allegations are enough to meet the pleading

standards. At a later stage, plaintiffs will be required to provide evidence to back

up their claims that community-based treatment was appropriate, but that

requirement will not be imposed on them at [the 12(b)(6)] stage.”).

      Defendants argue that to plead their appropriateness for community-based

services, Plaintiffs need to allege that they have recommendations from “their

physicians” for community placement.6 But courts have made clear that a prior

      6
        To the extent that Defendants’ use of the term “physician” implies a view
that only a medical doctor could make such a recommendation, they cite to no
authority for that proposition. On the contrary, cases considering evidence that
professionals have found plaintiffs appropriate for community-based services
generally refer to “professionals” and make no distinctions regarding the training
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professional recommendation for community-based services is not necessary to

plead appropriateness in a complaint, as a plaintiff “would not have an occasion to

be assessed for programs that should, but do not, exist.” M.J., 401 F. Supp. at 12-

13; see also, e.g., Disability Advocates, Inc. v. Paterson, 653 F. Supp. 2d 184, 259

(E.D.N.Y. 2009) (rejecting the argument that a plaintiff must present evidence that

he or she has been assessed by a “treatment professional” and found eligible to be

served in a more integrated setting to be considered appropriate), vacated on other

grounds sub nom. Disability Advocs., Inc. v. N.Y. Coal. for Quality Assisted Living,

Inc., 675 F.3d 149 (2d Cir. 2012); Frederick L. v. Dep’t of Pub. Welfare, 157 F.

Supp. 2d 509, 539-40 (E.D. Pa. 2001) (rejecting the argument that the integration

mandate “require[s] a formal recommendation for community placement”).

      Conceding that Plaintiff Leon C. has pled that he is appropriate for

community-based services, Defendants argue that he nonetheless opposes them

because his parent, C.C., “was reluctant to accept any transition plan that did not

provide intensive home and community-based services,” Compl. ¶ 53, in October

2022 when Leon was deemed ready for discharge. Defs.’ Mem. 47.

      But the non-opposition inquiry does not ask whether institutionalized

individuals are seeking discharge now, notwithstanding a state’s failure to provide


or licensure of those professionals. See, e.g., Olmstead, 527 U.S. at 587; Georgia
Advoc. Off., 447 F. Supp.3d at 1323; United States v. Georgia, 461 F. Supp. 3d
1315, 1323 (N.D. Ga. 2020).
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the services they need as accommodations. Rather, an individual “is ‘non-

opposed’ within the meaning of Olmstead” if she “would be open to choosing

community-based services if such services were available and accessible.” United

States v. Florida, 2023 WL 4546188, at *51 (S.D. Fla. July 14, 2023) (emphasis

added), appeal pending, No. 23-12331 (11th Cir.); see also Kenneth R. v. Hassan,

293 F.R.D. 254, 270 n.6 (D.N.H. 2013) (“[T]he meaningful exercise of a

preference [between community services and institutional care] will be possible

only if an adequate array of community services are available.”). Indeed, a

standard looking only to present-day circumstances “would defeat the purpose of

the integration mandate.” Florida, 2023 WL 4546188, at *47.

      Because, as Plaintiffs have alleged here, the community-based services

Plaintiffs seek are not being provided, C.C. has not yet been able to make a

meaningful choice. But Plaintiffs’ complaint more than adequately alleges that if

those services were available, C.C. would want her son home and is thus

unopposed to community-based placement. The complaint explains that C.C.’s

reluctance to bringing her son home in 2022 was due to the lack of community-

based services, not another reason. The complaint alleges that C.C. has “continued

to insist on the provision of services in [Leon’s] home and community,” and that

she “wants her son to come home with his family.” Compl. ¶ 53.



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      B. Individuals facing a serious risk of unnecessary institutionalization
         are protected by the integration mandate

      Defendants argue that Plaintiff Samuel D. cannot assert a claim under the

integration mandate because, despite a long history of institutionalization and the

ever-present threat of recurring institutionalization, he happened to be living at

home at the time of the filing of the complaint.

      Contrary to Defendants’ assertion, a plaintiff can state a claim alleging a

violation of the ADA if the plaintiff is unnecessarily institutionalized or at serious

risk of unnecessarily institutionalization. Georgia Advoc. Off., 447 F. Supp.3d at

1323; Hunter v. Cook, 2011 WL 4500009, at *5 (N.D. Ga. 2011).

      Although the Eleventh Circuit has never ruled on the issue, six out of seven

federal appellate courts that have considered the question have correctly concluded

that an individual in the community who is at serious risk of entering an institution

unnecessarily can bring a claim under the integration mandate. See Davis v. Shah,

821 F.3d 231, 263 (2d Cir. 2016); Pashby v. Delia, 709 F.3d 307, 322 (4th Cir.

2013); Waskul v. Washtenaw Cnty. Cmty. Mental Health, 979 F.3d 426, 460-61

(6th Cir. 2020); Steimel v. Wernert, 823 F.3d 902, 914 (7th Cir. 2016); M.R. v.

Dreyfus, 697 F.3d 706, 734-35 (9th Cir. 2012); Fisher v. Okla. Health Care Auth.,

335 F.3d 1175, 1181 (10th Cir. 2003). Defendants cite none of those cases, relying

only on the outlier decision, United States v. Mississippi, 82 F.4th 387, 392-93 (5th

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Cir. 2023). But the decision in Mississippi is wrong, anomalous, and not binding

upon this Court.

      The conclusion reached by the large majority of the federal appellate

decisions that the ADA bars states from placing an individual with a disability at

serious risk of needless institutionalization is well supported. The integration

regulation provides that States “shall administer services” in the “most integrated

setting appropriate to the needs of qualified individuals with disabilities.” 28

C.F.R. 35.130(d). There is no indication in that text that “institutionalization is a

prerequisite to enforcement” of the integration mandate. Davis, 821 F.3d at 263

(citation omitted).

      This understanding is consistent with the ADA’s statutory language as

explained in Olmstead. There, the Supreme Court concluded that unnecessary

institutionalization is a form of unlawful “discrimination” under the ADA because,

“to receive needed medical services,” individuals with disabilities must “relinquish

participation in community life they could enjoy given reasonable

accommodations,” while persons without disabilities “can receive the medical

services they need without similar sacrifice.” 527 U.S. at 601. Plaintiffs alleged

that Samuel D. and others like him are currently experiencing such

“discrimination” under the ADA. Unlike individuals without disabilities, children

like Samuel D. must “choose between forgoing necessary medical services while

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remaining in the community or receiving necessary medical services while

institutionalized.” Waskul, 979 F.3d at 460.

       Moreover, the integration mandate “would be meaningless if plaintiffs were

required to segregate themselves by entering an institution before they could

challenge an allegedly discriminatory law or policy that threatens to force them

into segregated isolation.” Fisher, 335 F.3d at 1181. For all these reasons, the

Department of Justice has issued guidance explaining that Olmstead extends to

persons at serious risk of institutionalization.7

       In any event, a plaintiff may bring a Title II claim when “the threatened

injury [here, unnecessary institutionalization] is ‘certainly impending,’ or there is a

‘substantial risk’ that the harm will occur.” Susan B. Anthony List v. Driehaus,

573 U.S. 149, 158 (2014). The court would have the authority to grant appropriate

equitable relief to prevent imminent and unnecessary institutionalization Olmstead

indisputably proscribes. See, e.g., Thomas v. Bryant, 614 F.3d 1288, 1318 (11th

Cir. 2010) (“[I]t is . . . well-established that injunctive relief is appropriate to



       7
         See U.S. Dep’t of Justice, Statement of the Department of Justice on
Enforcement of the Integration Mandate of Title II of the Americans with
Disabilities Act and Olmstead v. L.C., Q. 6 (last updated Feb. 25, 2020),
www.ada.gov/olmstead/q&a_olmstead.htm. The integration regulation is clear,
but even if were not, DOJ’s longstanding, authoritative, expertise-based guidance
is at least a reasonable interpretation of DOJ’s regulation and warrants deference
under Kisor v. Wilkie, 139 S. Ct. 2400, 2414-18 (2019).
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prevent a substantial risk of serious injury from ripening into actual harm.”).

      According to Defendants, a plaintiff who has experienced repeated

unnecessary institutionalization and is still not receiving services in the most

integrated setting appropriate to his needs must wait to reenter an institution to

receive the protection of the integration mandate. Then, he can file a claim, but he

cannot pursue it when he again gets discharged without adequate services to

prevent recurrence of unnecessary institutionalization. This would render the

integration mandate “meaningless,” Fisher, 335 F.3d at 1181. Defendants’

argument is unsupported by the ADA, its implementing regulations, or Olmstead,

and should be rejected.

      C. Plaintiffs have adequately alleged modifications to Georgia’s service
         system that can reasonably be accommodated.

      Although Defendants argue that Plaintiffs’ requested relief would amount to

a fundamental alteration of Georgia’s mental health program, Plaintiffs only seek

reasonable modifications of Georgia’s mental health services for children. Georgia

already offers some care coordination, intensive family-based services and crisis

services to children, but fails to make these services available to all children who

need them when they are needed and at the level of intensity and duration needed.

Compl. ¶¶ 145, 149-160, 163-169, 175-181. Modifications are reasonable when

they merely seek to expand the reach of existing services, especially when the

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proposed modifications “align with the jurisdiction’s own stated plans and

obligations.” United States v. Florida, 2023 WL 4546188, at *54; see also, e.g.,

Haddad v. Arnold, 784 F. Supp. 2d 1284, 1304-05 (M.D. Fla. 2010) (providing a

service already in state’s service system to additional people is not inherently a

fundamental alteration); Messier v. Southbury Training Sch., 562 F. Supp. 2d 294,

344-45 (D. Conn. 2008) (finding that plaintiffs’ requested service expansion,

which was consistent with defendants’ publicly stated plans, was reasonable).

Here, Plaintiffs allege that Georgia already intends to provide services to children

like Plaintiffs to meet their needs. Compl. ¶¶ 135-144. Defendants cite Rodriguez

v. City of New York, 197 F.3d 611 (2d Cir. 1999) for the proposition that the ADA

does not support a claim for an entirely new service. But in Rodriguez, the

jurisdiction did not offer and was not obligated to offer the service sought. Id. at

619. Here, providing the services that Plaintiffs seek is required under EPSDT. 42

U.S.C. §§ 1396a(a)(43), 1396d(a)(4), 1396d(r). It is a reasonable modification for

the State to conform its program to meet existing federal law obligations.

      Further, although Defendants argue that the modifications Plaintiffs request

would amount to a fundamental alteration, this is an affirmative defense that is not

appropriate for resolution on a motion to dismiss. See Mary Jo C. v. N.Y. State &

Local Ret. Sys., 707 F.3d 144, 153 (2d Cir. 2013) (“It is a factual issue whether a

plaintiff’s proposed modifications amount to ‘reasonable modifications’ which

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should be implemented, or ‘fundamental alterations,’ which the state may reject.)


   II.        Medicaid beneficiaries can sue state officials for violations of the
              Medicaid Act provisions at issue here.

         Defendants’ assertion that Plaintiffs do not have a private right of action

under 42 U.S.C. § 1983 to enforce provisions of the Medicaid Act is foreclosed by

decades of precedent, as described in the Supreme Court’s recent decision in

Health and Hosp. Corp. of Marion Cty. v. Talevski, 599 U.S. 166 (2023). The

Supreme Court has long held that suits filed under 42 U.S.C. § 1983 can seek

redress for violations of rights secured by federal statutes—including the Social

Security Act, which is at issue here. See Maine v. Thiboutot, 448 U.S. 1, 8 (1980).

Section 1983 creates a cause of action against persons acting under color of state

law for deprivations of “rights . . . secured by the constitution and laws,” and the

Supreme Court has interpreted the word “laws” to include all federal statutes.8 See

Talevski, 599 U.S. at 180.

         Echoing the arguments evaluated in Talevski, Defendants suggest that

federal statutes passed pursuant to the Spending Clause cannot create rights that



         8
        Defendants also briefly argue that there is no cause of action under § 1983
because this lawsuit is against the state, not a “person.” But the Supreme Court has
long held that “a state official in his or her official capacity, when sued for
injunctive relief, [is] a person under § 1983.” Will v. Mich. Dep’t of State Police,
491 U.S. 58, 71 n.10 (1989).
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can be redressed through a § 1983 lawsuit. The Supreme Court considered this

argument and rejected it, declining to “flatly overrule a number of major decisions

of this Court” and reaffirming that beneficiaries of Social Security Act programs

generally, and the Medicaid Act specifically, can use § 1983 to vindicate rights

created by those laws. Talevski, 599 U.S. at 179. Revealingly, Defendants cite

only non-binding concurrences in Talevski in support of their view that this Court

should abandon longstanding precedent. Defs.’ Mem. at 30. But the Supreme

Court did not do so, and this Court is not free to do so.

      Defendants correctly note that not every provision in a Spending Clause

statute creates rights enforceable via § 1983, but it is well-settled that the

provisions at issue here do create such rights. The Eleventh Circuit has explained:

      A three-part test determines whether Spending Clause legislation, such
      as the Medicaid Act, creates a right of action under § 1983: (1)
      Congress must have intended that the statute in question benefit the
      plaintiff; (2) the asserted right must not be so ‘vague and amorphous’
      that its enforcement would strain judicial competence; and (3) the
      statute must clearly impose a mandatory obligation upon the states.

Martes v. Chief Exec. Officer of S. Broward Hosp. Dist., 683 F.3d 1323, 1326

(11th Cir. 2012) (describing the test articulated in Blessing v. Freestone, 520 U.S.

329 (1997)).

      In Gonzaga v. Doe, 536 U.S. 273, 283 (2002), the Supreme Court

emphasized that there must be an “unambiguously conferred right” in federal law


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to support a § 1983 action. The Eleventh Circuit has since explained that when

evaluating the first Blessing prong—Congressional intent to confer a right—courts

should consider factors including whether “the statute (1) contains ‘rights-creating’

language that is individually focused; (2) addresses the needs of individual persons

being satisfied instead of having a systemwide or aggregate focus; and (3) lacks an

enforcement mechanism through which an aggrieved individual can obtain

review.” 31 Foster Children v. Bush, 329 F.3d 1255, 1270 (11th Cir. 2003).

         As this Court noted in William v. Horton, “courts that have considered the

EPSDT provisions and similarly worded Medicaid Act provisions have uniformly

found the provisions are enforceable under Section 1983” since Blessing and

Gonzaga were decided. 2016 WL 6582682, at *5 (N.D. Ga. 2016); see Bontrager

v. Ind. Fam. and Soc. Servs. Admin., 697 F.3d 604, 607 (7th Cir. 2012); Watson v.

Weeks, 436 F.3d 1152, 1161-62 (9th Cir. 2006); S.D. v. Hood, 391 F.3d 581, 602-

606 (5th Cir. 2004); Sabree v. Richman, 367 F.3d 180, 189-92 (3d Cir. 2004);

Westside Mothers v. Haveman, 289 F.3d 852, 863 (6th Cir. 2002); Pediatric

Specialty Care, Inc. v. Ark. Dep't of Human Servs., 293 F.3d 472, 478-79 (8th Cir.

2002).

      Indeed, this Court has reached that conclusion every time it has considered

this issue. See William, 2016 WL 6582682, at *5; Hunter v. Medows, 2009 WL

5062451, at *2-3 (N.D. Ga 2009); Kenny A. v. Perdue, 218 F.R.D. 277, 293-94

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(N.D. Ga. 2003). The Medicaid Act’s “reasonable promptness” provision,

similarly, has repeatedly been found to be enforceable via § 1983. See Doe 1-13 v.

Chiles, 136 F.3d 709, 719 (11th Cir. 1998); see also, e.g., Doe v. Kidd, 501 F.3d

348, 356-57 (4th Cir. 2007); Bryson v. Shumway, 308 F.3d 79, 89 (1st Cir. 2002).

Without citing a single example of a court finding these provisions unenforceable

under § 1983, Defendants ask this Court to depart from the decisions of courts

throughout the country and adopt their novel view that these provisions are

unenforceable. There is no basis for this Court to do so.

      Starting with the EPSDT provisions and the first Blessing factor, each

provision is written in terms of individual rights. See 42 U.S.C. § 1396a(a)(10)(A)

(the state will make medical assistance available to “all individuals” who meet

certain criteria); § 1396a(a)(43) (the state must “arrang[e] for . . . corrective

treatment” that individual children need); § 1396d(a)(4) (EPSDT services must be

available “for individuals who are eligible under the plan and are under the age of

21”); § 1396d(r) (defining EPSDT services to be made available to individual

children). These individually focused treatment rights for children “are precisely

the sort of ‘rights-creating’ language identified in Gonzaga as critical to

demonstrating a congressional intent to establish a new right.” S.D., 391 F.3d at

603; see also Sabree, 367 F.3d at 190 (explaining that it is “difficult, if not

impossible, as a linguistic matter, to distinguish” this language from the federal

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statutory language that the Court’s opinion in Gonzaga explains is enforceable).

      Not only are these provisions clearly focused on individual rights to

treatment for covered children, they also “lack an enforcement mechanism” for

those children other than a § 1983 suit. See Kenny A., 218 F.R.D. at 290; see also

31 Foster Children, 329 F.3d at 1272-73 (explaining that the federal government’s

ability to withhold funds from a state is not an individual enforcement mechanism).

      Turning to the second Blessing factor, the EPSDT provisions are not so

“vague and amorphous” that their enforcement would “strain judicial competence.”

520 U.S. at 340-31. Rather, they merely ask the court to interpret the meaning of

the specific EPSDT guarantees. “That level of statutory analysis does not ‘strain

judicial competence;’ it is the sort of work in which courts engage every day. The

EPSDT provisions at issue are no more ‘vague and amorphous’ than other

statutory terms” that courts have found capable of judicial enforcement. S.D., 391

F.3d at 605; see also Kenny A., 218 F.R.D. at 294. And, with respect to the third

Blessing factor, there is a mandatory obligation; any State that participates in

Medicaid must comply with EPSDT. Id.; see also Doe 1-13, 136 F.3d at 718.

      The analysis above applies equally to Medicaid’s “reasonable promptness”

provision, 42 U.S.C. § 1396a(a)(8), and the Eleventh Circuit has already applied

the Blessing test to hold that this provision is enforceable via § 1983. Doe 1-13,

136 F.3d at 718. Although Gonzaga postdates Doe, the right to “reasonable

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promptness” plainly comports with Gonzaga’s test. Section 1396a(a)(8) has

individual rights-creating language (states must “furnish” medical assistance “with

reasonable promptness to all eligible individuals”), focuses exclusively on an

individual level; and cannot be remedied through another private enforcement

mechanism. See Sabree, 367 F.3d at 190 (explaining, post-Gonzaga, that

“Congress conferred [a] specific entitlement[] on individuals in terms that could

not be clearer” when requiring care to be provided with reasonable promptness).

      In short, the enforceability via § 1983 of these Medicaid provisions is

overwhelmingly evident from years of well-reasoned cases, and this Court has no

reason to deviate from these holdings.

   III.    Plaintiffs have stated a claim for violations of the EPSDT provisions
           and the reasonable promptness requirement.

      Plaintiffs have sufficiently pled a deprivation of their rights under the

Medicaid Act.      The Medicaid Act “impose[s] a mandatory duty upon

participating states to provide EPSDT-eligible children with all the health

care, services, treatments and other measures described in § 1396d(a) of the

Act, when necessary to correct or ameliorate health problems discovered by

screening, regardless of whether the applicable state plan covers such

services.” S.D., 391 F.3d at 589-90. The Eleventh Circuit has described the

EPSDT provisions as a “clear mandate.” Pittman v. Sec’y, Fla Dep’t of Health

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& Rehab. Servs., 998 F.2d 887, 891 (11th. Cir. 1993).9

      The services enumerated in 42 U.S.C. § 1396d(a), which must be provided

to children who need them, id. §§ 1396d(a)(4)(B) and (r)(5), 1396a(a)(43), include

the “Remedial Services” Plaintiffs seek here: intensive care coordination, in-home

services, and crisis response services. Compl. ¶¶ 145-181. As the agency that

administers Medicaid explained: “The goal of the EPSDT benefit is to ensure that

individual children get the health care they need in the right place when they need

it. . . . This includes coverage of intensive community-based services, crisis

stabilization, and intensive care coordination to meet the needs of high-risk

children and youth.”10 These services must be provided to all, not merely some,


      9
         Defendants cite Troupe v. Barbour, 2013 WL 12303126, at *4 (S.D. Miss.
2013), for the proposition that EPSDT services are not owed to Plaintiffs because
they have not pled that they have “requested” a screening pursuant to 42 U.S.C. §
1396a (43)(B). In Troupe, the plaintiffs “conceded that they ha[d] not requested
anything from Defendants—screening, treatment, or otherwise.” Id. at *4. But
here, the Complaint discusses numerous occasions on which Plaintiffs sought or
received services from Defendants. Compl. ¶¶ 22-64. Importantly, requests for
screening pursuant to § 1396a (43)(B) need not take any particular form. Rather,
the federal government has explained: “The family or beneficiary need not
formally request an EPSDT screening in order to receive the benefits of EPSDT.
Rather, any visit or contact with a qualified medical professional is sufficient to
satisfy EPSDT’s screening requirement.” Ctrs. for Medicare & Medicaid Servs.,
EPSDT: A Guide for States, June 2014, at 6,
https://www.medicaid.gov/sites/default/files/2019-12/epsdt_coverage_guide.pdf.
Each Plaintiff describes a long list of contacts with providers; these contacts are
sufficient to establish that screening has been requested. Compl. ¶¶ 22-64.
      10
        CMCS Informational Bulletin: Leveraging Medicaid, CHIP, and Other
Federal Programs in the Delivery of Behavioral Health Services for Children and
                                             22
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children who need them.11 See Chisholm v. Hood, 133 F. Supp. 2d 894, 901 (E.D.

La. 2001) (state violated EPSDT requirements despite provision of services to

some children); Memisovski v. Maram, 2004 WL 1878332, at *56 (N.D. Ill. 2004).

      The obligations to provide the services Plaintiffs seek come from the

Medicaid statute. First, § 1396d(a)(19), together with the EPSDT provisions at §

1396a(a)(43) and § 1396d(r), requires states to offer children “case management

services,” which may include intensive care coordination. “Case management”

services include efforts to “assist individuals . . . in gaining access to needed

medical, social, educational, and other services” and includes detailed assessments,

development of a care plan, “activities to help . . . obtain needed services,” and

“[m]onitoring and followup activities.” 42 U.S.C. § 1396n(g)(2). The courts that

have considered EPSDT claims for intensive care coordination geared toward

children with mental health disabilities have made clear that such services must be

available to those children. See Katie A. v. Los Angeles Cnty., 481 F.3d 1150,

1160-61 (9th Cir. 2007) (confirming that reasonably effective case management



Youth, Aug. 18, 2022, at 7, https://www.medicaid.gov/federal-policy-
guidance/downloads/bhccib08182022.pdf.
       11
          Defendants highlight that states have discretion in exactly how to
implement the EPSDT mandate. But states must still “meet the substantive
requirements of the federal Medicaid Act,” Moore v. Reese, 637 F.3d 1220, 1238
(11th Cir. 2011), and here, Plaintiffs sufficiently allege that the Defendants have
failed to do so.

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services must be offered to children); Rosie D. v. Romney, 410 F. Supp. 2d 18, 52-

53 (D. Mass. 2006) (same).

      Similarly, states must offer children “rehabilitative services,” including:

      any medical or remedial services (provided in a facility, a home, or
      other setting) recommended by a physician or other licensed
      practitioner . . . for the maximum reduction of . . . mental disability and
      restoration of an individual to the best possible functional level.

42 U.S.C. § 1396d(a)(13). The rehabilitative services category is broad and

includes a wide range of supportive services, including in-home behavioral

supports and crisis services. See Katie A., 481 F.3d at 1159-60 (affirming that

states must provide children adequate in-home behavioral support services under

EPSDT); Pediatric Specialty Care, Inc., 293 F.3d at 480-81 (EPSDT requires

states to provide community-based early intervention day treatment to children as

rehabilitative services); Rosie D., 410 F. Supp. 2d at 52-53 (EPSDT requires

adequate in-home behavioral services including crisis supports); Chisholm,133 F.

Supp. 2d at 901 (explaining that intensive behavioral interventions for autistic

children are required rehabilitative services under EPSDT); see also EPSDT: A

Guide for States, at 11-1212 (explaining that rehabilitative services are “particularly

critical for children with mental health . . . issues” and include crisis services and

individualized mental health treatments in a range of settings).

      12
        https://www.medicaid.gov/sites/default/files/2019-
12/epsdt_coverage_guide.pdf
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      The crux of Defendants’ arguments is that the Remedial Services the

Plaintiffs seek are not medically necessary because none of the Plaintiffs allege

that a physician prescribed the services. Defs.’ Mem. 37-39, 41. But, as discussed

supra in Section I.A., the Complaint includes specific allegations that each

Plaintiff needs these services. Compl. ¶¶ 33, 44, 54, 64. Defendants may dispute

that Plaintiffs need the services, but this is a factual issue that is inappropriate for

resolution in a motion to dismiss. See J.E. v. Wong, 125 F. Supp. 3d 1099, 1108

(D. Haw. 2015) (explaining that the question of whether the treatment sought “is,

in fact, a medically necessary treatment” under EPSDT is not before the court on a

motion to dismiss); see also Murphy v. Minn. Dep’t of Hum. Servs., 260 F. Supp.

3d 1084, 1107 (D. Minn. 2017) (finding that “that [p]laintiffs have stated a viable

reasonable promptness claim based on [d]efendants’ alleged failure to ensure

reasonably prompt access to the . . . services they seek.”). This Court should find

that Plaintiffs have adequately pled a violation of the EPSDT and “reasonable

promptness” requirements.

                                    CONCLUSION

      Accordingly, this Court should find that Plaintiffs: (1) have stated a claim

for a violation of the integration mandate of Title II and Section 504; (2) have a

private right of action under 42 U.S.C. § 1983 to pursue their Medicaid claims

here; and (3) have adequately alleged a violation of those Medicaid rights.

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Respectfully submitted this 22nd day of April, 2024.

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                          L.R. 7.1(D) CERTIFICATION


      I hereby certify that the foregoing document has been prepared in

accordance with the font type and margin requirements of L.R. 5.1(C), using

Times New Roman font with a point size of 14.



Dated: April 22, 2024                                /s/ Beth Kurtz
                                                     Beth Kurtz




                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing using the CM/ECF

system, which will send notification of such filing to all counsel of record.



Dated: April 22, 2024                                /s/ Beth Kurtz
                                                     Beth Kurtz
